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EXHIBIT A

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Alex Losieniecki (vovunteer) (supporter we

 

2399 Rosegarden Rd, Pittsburgh, PA 15220, United States

Add backgrour

 

Contact: (760).960-3554 (m) @ « ralosieniecki@gmail.com @

NationBuilder ID: 6961

 

Point person: Janelle Marina Mendez

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A. Gabrielle Herrick (vovunteer) (supporTer )

  

Contact: (208) 570-3672 (m) @ = alexgherrick@gmail.com @ + Tweet
NationBuilder ID: 6205 = gabih
Twitter: @alexgherrick

Point person: Janelle Marina Mendez

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